16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 1 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 2 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 3 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 4 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 5 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 6 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 7 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 8 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 9 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 10 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 11 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 12 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 13 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 14 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 15 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 16 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 17 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 18 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 19 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 20 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 21 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 22 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 23 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 24 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 25 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 26 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 27 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 28 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 29 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 30 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 31 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 32 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 33 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 34 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 35 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 36 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 37 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 38 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 39 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 40 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 41 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 42 of 43
16-05024-amk   Doc 1-1   FILED 03/29/16   ENTERED 03/29/16 10:25:25   Page 43 of 43
